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10                         UNITED STATES DISTRICT COURT FOR THE
11                            CENTRAL DISTRICT OF CALIFORNIA
     ______________________________________
12   JANE DOE, an individual,              )     Case No. 2:19-cv-1005-AB-KS
                    Plaintiff,             )
13                                         )
            v.                             )     JOHN DOE’S RESPONSE IN
14                                         )     OPPOSITION TO CALIFORNIA
     CALIFORNIA INSTITUTE OF               )     INSTITUTE OF TECHNOLOGY’S
15
     TECHNOLOGY, a California Corporation; )     MOTION TO DISMISS CROSS-CLAIMS
     JOHN DOE, an individual; KEVIN        )
16                                         )
     GILMARTIN, an individual; and DOES 1  )
17   through 100, inclusive,               )
                    Defendants.            )
18   _____________________________________ )
     JOHN DOE, an individual,              )
19                  Counterclaimant,       )
                                           )
20                                         )
           v.                              )
21                                         )
     JANE DOE, an individual,              )
22                  Counter Defendant.     )
23   _____________________________________ )
                                           )
     JOHN DOE, an individual,              )
24                  Cross-Claimant,        )
                                           )
25         v.                              )
                                           )
26                                         )
     CALIFORNIA INSTITUTE OF               )
27   TECHNOLOGY, a California Corporation, )
                    Cross-Defendant.       )
28                                         )
                                           )


                           JOHN DOE'S RESPONSE IN OPPOSITION
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1    I.    STATEMENT OF FACTS
2          An alleged sexual encounter between John and Jane occurred on August 16,
3
     2017 during a gathering of friends at a Caltech dormitory. See Dkt. 29, Cross-Claims
4
     (“CC” ¶¶ 19-30). Jane knew at the time of the incident that John was in a long-term
5
6    relationship with one of Jane’s friends. Id. ¶¶ 16-18. The encounter occurred when
7    John was incapacitated from alcohol – as confirmed by video, multiple witness
8
     statements, and Jane’s text message to a friend stating that John “was probably
9
     blacked out” when they had sex. Id. ¶¶ 20-22. In contrast, there was substantial
10
11   evidence that Jane was, at most, mildly intoxicated during the alleged sexual
12   encounter. Id. 23, 31-33.
13         Jane was upset over a recent breakup and claimed that John asked her for sex
14
     in exchange for information about her ex-boyfriend cheating on her. Id. ¶¶ 25-30.
15
16   Jane admitted that she agreed to John’s alleged sexual advances but terminated the

17   sexual encounter once she learned all John knew about her ex-boyfriend. Id. The
18   next day, Jane apologized to John’s girlfriend for hooking up with John and texted
19
     another friend that she “banged” John. Id. ¶¶ 21, 34. But when Jane’s ex-boyfriend
20
     denied cheating, Jane feared that he might be upset because their relationship was
21
22   “complicated” and possibly not fully over. Id. ¶ 36. As a result, Jane fabricated a
23   rape allegation to excuse her behavior and filed a claim of sexual assault with
24
     Caltech’s Title IX office. Id. ¶¶ 36-37.
25
           When John first met with Caltech’s Title IX coordinator, Felicia Hunt, to
26
27   discuss Jane’s complaint, John asked about asserting a counter-claim. Id. ¶ 51-52.
28   But Ms. Hunt discouraged John from doing so by explaining (incorrectly) that his

                                                1
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1    claim had no merit and threatening potential consequences for a false claim. Id. Ms.
2
     Hunt also advised that John should not hire an attorney and lied to John that she
3
     would be required to inform Jane if he did, which (according to Ms. Hunt) would
4
5    only cause Jane to get an attorney as well – but Ms. Hunt did not advise John when
6    Jane retained an attorney during the ensuing investigation. Id. ¶¶ 61-62.
7
           A month after meeting with Ms. Hunt, John filed a claim of sexual assault
8
     against Jane for having sex with John while he was incapacitated – Caltech waited a
9
10   month before agreeing to investigate John’s claim. Id. ¶ 62, 66. While Caltech
11   imposed interim sanctions against John immediately after receiving Jane’s
12
     complaint, which severely limited John’s campus access and forced him to resign
13
     from his work-study job, Caltech imposed no interim sanctions against Jane in
14
15   response to John’s complaint. Id ¶¶ 55-58, 64-65.

16         Caltech’s investigation and adjudication of sexual misconduct claims is
17   governed by its Sexual Misconduct Policy (“the Policy”). Id. ¶ 38. The Policy does
18
     not afford accused students the right to a hearing or an opportunity to question
19
20
     witnesses or the accuser. Id. ¶¶ 46-48, 177-178. Rather, investigators independently

21   interview witnesses, collect evidence, and make a recommended finding to the Dean
22   of Students, who based exclusively on the investigators’ report makes a final
23
     responsibility finding and sanctions determination. Id. ¶¶ 46-47.
24
           After concluding their investigation, the investigators found that John was not
25
26   responsible for any sexual misconduct. Id. ¶ 75. Moreover, the investigators largely
27   vindicated John by finding Jane responsible for sexual misconduct for having sex
28


                                              2
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1    with John while he was incapacitated. Id. However, the investigators also
2
     recommended that John be found responsible for an Honor Code violation for lying
3
     to Jane that her ex-boyfriend had cheated on her. Id. ¶ 76. John never received notice
4
5    that he was under investigation for an Honor Code violation and therefore had no
6    opportunity to defend that allegation. Id.
7
           After learning of the recommended ruling, Caltech pressured its investigators
8
     to reverse their initial findings and to hold John responsible for Sexual Misconduct;
9
10   the investigators complied and surreptitiously issued a “revised” report without
11   notice and without explanation for the reversal. Id. ¶¶ 75, 78. Caltech directed the
12
     investigators to do this in response to threats from Jane’s counsel and to avoid public
13
     criticism of its process when its treatment of women in Title IX investigations was
14
15   already under attack by students and in the press. Id. ¶¶ 9, 82, 166-170. The revised

16   report found John responsible for sexual misconduct for a non-consensual kiss, but
17   maintained the finding that Jane consented to all the subsequent sexual activity while
18
     John did not. Id.¶¶ 85-87.
19
20
           The investigators’ final report relied on overt gender stereotypes to conclude

21   that Jane’s behavior in having non-consensual sex with John was largely excusable.
22   Id. ¶ 100-102. Despite maintaining their determination that Jane knew or should
23
     have known that John was incapacitated when she chose to have sex with him, the
24
     investigators reasoned that it was John (while incapacitated) who took advantage of
25
26   Jane because she was “in a vulnerable state.” Id. The investigators reasoned that
27   because of her vulnerability she only “technically violated” the policy for having sex
28


                                                  3
                           JOHN DOE'S RESPONSE IN OPPOSITION
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1    with an incapacitated male student, and explicitly found John partially responsible
2
     for his own sexual assault. Id.
3
           While Caltech succeeded in forcing their investigators to “split the baby” and
4
5    find both students responsible for sexual misconduct, Dean Gilmartin tried to turn
6    the result entirely against John by forcing John to leave the University and thereby
7
     avoid having to finalize a finding against Jane. Id. ¶¶ 112-122. Specifically, before
8
     finalizing the disciplinary decision, Dean Gilmartin met with John and threatened to
9
10   suspend John if he did not agree to voluntarily withdraw from the University –
11   falsely claiming that John needed time away from school for alcohol treatment. Id.
12
     ¶¶ 113-114, 118. John had an emotional breakdown upon hearing the dean’s threats
13
     and had to terminate the meeting. Id ¶ 114. In a subsequent meeting with John and
14
15   his family, Dean Gilmartin continued to insist that John withdraw to avoid

16   suspension, even against the medical advice of a counselor John retained to counter
17   Dean Gilmartin’s pretextual justification for removing John from campus. Id. ¶ 118.
18
     Dean Gilmartin only relented when John hired an attorney to challenge the dean’s
19
20
     actions. Id. The threat that John could avoid suspension by withdrawing was false –

21   John was not suspended when the dean finalized the decision and sanctions. Id.
22   Rather, Dean Gilmartin’s deceitful conduct was an attempt to avoid making a final
23
     decision against Jane that Dean Gilmartin knew would be controversial in the current
24
     social climate. Id.
25
26         Dean Gilmartin’s final decision was consistent with the investigators’ altered
27   report finding John responsible for a non-consensual kiss and an Honor Code
28


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                           JOHN DOE'S RESPONSE IN OPPOSITION
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1     violation, and Jane responsible for non-consensual sexual intercourse. Id. ¶¶ 126-
2
      131. The sanctions Dean Gilmartin imposed were substantially more severe against
3
      John than against Jane. Id. John submitted an appeal, but Caltech is withholding its
4
5     final decision based on this litigation, initiated by Jane. Id. ¶¶ 150-152.
6     John’s Specific Allegations of Gender Bias
7
            John’s cross-claims include averments demonstrating that Caltech’s
8
      mishandling of his case was motivated by the desire to avoid criticism for
9
10    sanctioning a female student who claimed to be a sexual assault survivor – even
11    though the female’s claims were disproven, and Caltech’s investigators determined
12
      that she violated university standards that are regularly and strictly enforced against
13
      male students. John’s cross-claim includes the following allegations from which this
14
15    Court could infer Caltech’s actions were motivated by gender-bias:
         Caltech’s Title IX Coordinator actively discouraged John from filing a claim
16
            against Jane, demonstrating general hostility to male students involved in the
17          disciplinary process. CC ¶¶ 51-52.
18
          Caltech investigators have never found that a male student accused of having
19         sex with an incapacitated female “only technically” violated the Policy and
20         have never excused the male’s behavior because the female victim
           propositioned the male student for sex. Id. ¶¶ 103, 107-108.
21
22        No female victim of sexual assault has ever been simultaneously found
           responsible for an Honor Code violation, as John was, for taking advantage of
23         an emotionally vulnerable male student. Id. ¶ 109.
24
          Caltech has never proposed a Remedy-Based Resolution that involved
25         separation from school for alcohol treatment for any female student who was
26         found to be the victim of non-consensual sexual intercourse when
           incapacitated from alcohol. Id. ¶ 120.
27
28


                                                 5
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1          Caltech has never imposed alcohol-related sanctions against a female student
            who Caltech determined was sexually assaulted while incapacitated from
2           alcohol. Id. ¶ 130.
3
           John was strong-armed by Caltech when it negotiated a Remedy-Based
4           Resolution, at the same time it bent over backwards to accommodate Jane’s
5           demands – even though Jane was found responsible for the most serious
            offense between the two students. Id. ¶¶ 121-122.
6
7          John received a harsher sanction for a non-consensual kiss than Jane received
            for non-consensual intercourse. Id. ¶¶ CC 132.1
8
9          Male students found responsible for having sex with incapacitated female
            students have uniformly received sanctions of temporary or permanent
10
            separation from the University. Id. ¶ 139. In contrast, Jane was only required
11          to take a class on consent. Id. ¶ 131.
12
           Caltech has never considered it relevant whether a female student sexually
13          propositioned a male, if the male student knew or should have known that the
14          female was incapacitated and incapable of consent at the time of the sexual
            activity. In contrast, Dean Gilmartin explicitly reasoned in his decision letter
15          that John shared in the blame for his assault because of his conduct in
16          propositioning Jane for sex. Id. ¶¶ 140-145.
17
18    1
       Caltech’s explanation that it was simply adopting the recommendation of John’s
19    alcohol counselor is specious. First, John submitted an alcohol treatment plan in
      response to Dean Gilmartin’s pretextual claim that John’s alcoholism was so
20
      severe that he should leave school. In fact, John’s counselor concluded that John
21    had a “mild to moderate substance use disorder” and that John did not have an
22    alcohol dependence issue. (See Dkt. 36, Kaba Decl. Ex. A at 2). Second, John
      submitted the treatment plan to show that he was already addressing his alcohol
23    issues. But Dean Gilmartin insisted on making John’s treatment recommendation
24    part of John’s sanction and therefore a permanent part of his student conduct file
      (that may be disclosed to future graduate programs or employers). The notion that
25
      Caltech was behaving out of concern for John’s wellbeing is not a reasonable
26    inference to be drawn from John’s Cross-claims. But even if the Court disregards
27    the alcohol-related sanctions, then John still received the same sanction as Jane
      (i.e., a class on consent) for a far lesser offense (nonconsensual kiss vs.
28    nonconsensual sex). The problem with that result is self-evident.

                                                6
                             JOHN DOE'S RESPONSE IN OPPOSITION
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1            Caltech has never found a female responsible for an Honor Code violation for
              propositioning a male student to have sex with her while the male was in a
2             “vulnerable state.” Id. ¶146.
3
             Caltech was under general pressure from the government to strengthen its
4             enforcement of Title IX, to clamp down on campus sexual assaults and to
5             protect women. Id. ¶¶ 154-165.
6            Caltech was under specific pressure to treat female accusers more seriously
7             based on criticism it received in response to its handling of claims of sexual
              harassment brought be female students against a male professor. The incident
8
              was covered in newspaper articles and caused student protests during the same
9             time frame Caltech adjudicated John’s case. Id. ¶ 166-167.
10
             Caltech was similarly criticized in its student newspaper by a female
11            undergraduate student who described Caltech’s Title IX process as unfair. Id.
12            ¶ 168-169.

13           “[T]he negative publicity Caltech received in connection with these instances
14            and in the current social climate had a significant impact on Caltech’s
              treatment of John and its desire to avoid adjudicating and punishing a female
15            student for sexual assault.” Id. ¶ 170.
16
      Finally, and in addition to the above allegations, John’s complaint asserts that
17
      Caltech maintains exclusive possession of facts concerning how it has dealt with
18
19    other sexual misconduct cases because student records are confidential, and that

20    discovery will bear out his claim of disparate treatment based on gender. Id. ¶¶ 106,
21    180.
22
      II.      ARGUMENT
23
               A.     John Was Not Required To Exhaust Administrative Remedies
24
               Caltech’s Argument that John was first required to file a Petition for
25
      Administrative Mandate pursuant to Section 1094.5 of the state Civil Code of
26
27    Procedure (CCP) is wrong because Caltech’s disciplinary process does not include
28


                                                 7
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1     a hearing. Section 1094.5 provides that the writ procedure applies only to a
2
      “proceeding in which by law a hearing is required to be given, evidence is
3
      required to be taken, and discretion in the determination of facts is vested in the
4
5     inferior tribunal…” CCP § 1094.5.
6           All the cases Caltech relies on in asserting that the exhaustion doctrine
7
      “applies to university students challenging the outcome of a disciplinary proceeding”
8
      (Caltech Mem. at 4) involve schools with disciplinary procedures that include
9
10    hearings. See Gupta v. Stanford Univ., 124 Cal. App. 4th 407, 410-411 (2004)
11    (holding that “the remedy of administrative mandamus … applies to private
12
      organizations that provide for a formal evidentiary hearing” and noting that
13
      Stanford “required an evidentiary hearing before a judicial panel … [a]s such,
14
15    mandamus is the appropriate remedy under section 1094.5.”); Doe v. Regents of UC,

16    891 F.3d 1147, 1150 (9th Cir. 2018) (requiring exhaustion pursuant to CCP § 1094.5
17    in case where student challenged the result of a hearing finding him responsible for
18
      sexual assault); Karimi v. Golden Gate Sch. of Law, 2019 WL 587545, at *12 (N.D.
19
20
      Cal. Feb. 13, 2019) (requiring exhaustion in case where “Golden Gate’s handbook

21    provided for a formal hearing on disciplinary charges”). Based on the plain language
22    of Section 1094.5, John is not required to seek a writ of administrative mandate to
23
      challenge the outcome of Caltech’s investigation, which did not include even the
24
      semblance of a hearing. The adjudicator in John’s case, Dean Gilmartin, did not
25
26    interview a single witness or even the parties to the case. Rather, he relied entirely
27    on the written report of investigators who separately and individually interviewed
28


                                                8
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1     students without any opportunity for the parties to ask questions or challenge the
2
      evidence against them in a live setting. This does not satisfy the hearing requirement
3
      of Section 1094.5. 300 DeHaro St. Inv'rs v. Dep't of Hous. & Cmty. Dev., 161 Cal.
4
5     App. 4th 1240, 1251–52 (2008) (Section 1094.5 “contemplates an adversarial
6     hearing grounded in due process”).
7
            A comparison of Pomona College v. Superior Court, 45 Cal. App. 4th 1716,
8
      1729 (1996) and McGill v. Regents of University of California 44 Cal. App. 4th 1776
9
10    (1996) is instructive. Both cases involve professors challenging university processes
11    that led to tenure denial. In Pomona, the court dismissed the professor’s claims
12
      holding that he was required to first exhaust his administrative remedies under
13
      Section 1094.5 because “Pomona’s Handbook requires both a hearing and the taking
14
15    of evidence in reaching its initial tenure decision, and provides for a ‘formal hearing’

16    upon the filing of a grievance complaint by a dissatisfied faculty member.” Pomona,
17    45 Cal. App. 4th at 1729.
18
            In contrast, the appellate court in McGill reversed a trial court’s decision to
19
20
      dismiss a professor’s claims based on exhaustion because “there was no legal

21    requirement that the tenure decision result from an evidentiary hearing.” McGill, 44
22    Cal. App. 4th at 1785; see also 300 DeHaro St. Inv'rs., 161 Cal. App. 4th at 1251–
23
      52 (rejecting exhaustion argument brought by agency challenging landlord’s breach
24
      of contract action arising out of regulatory agreement to control rent increases,
25
26    holding that “no administrative hearing was required by law, and therefore section
27    1094.5 does not apply to this case”). In 300 Deharo, the court rejected the
28


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1     government’s argument that “purely documentary proceedings can satisfy the
2
      hearing requirement of . . . section 1094.5, so long as the agency is required by law
3
      to accept and consider evidence from interested parties before making its decision.”
4
5     Id. at 1250-51. This Court should similarly reject any argument from Caltech that
6     something less than the “formal evidentiary hearing” described by Gupta (on which
7
      Caltech principally relies) is sufficient to invoke Section 1094.5.2
8
            Finally, this Court should take note of two facts that make Caltech’s
9
10    exhaustion argument particularly impractical and unfair to John. First, Caltech has
11    not argued failure to exhaust in response to Jane’s Title IX claim, even though Jane’s
12
      Complaint openly challenges the result of Caltech’s disciplinary decision against
13
      her, just as John does.3 Second, Caltech has purposefully withheld its final decision
14
15    on John’s administrative appeal, which John submitted roughly five months ago, and

16    will continue to do so pending the outcome of this litigation. This means that if John
17
      2
        Caltech may rely on Indian Model Schools v. Oakland Unified School Dist., 227
18    Cal. App. 4th 258, 295 (2014) which noted that “1094.5 does not require a ‘formal
19    evidentiary hearing’” in the context of a writ proceeding challenging a charter
      school’s charter revocation pursuant to an administrative procedure that required a
20
      public hearing. The court simply noted that a public hearing that included notice,
21    taking of evidence, and written findings of fact satisfied the hearing requirement of
22    1094.5. But there was nothing remotely approximating a hearing in John’s case.
      Accordingly, the McGill and 300 DeHaro St. decisions cited above are apposite and
23    controlling.
      3
24      See Dkt. 28, Jane Doe Sec. Amended Compl. at ¶¶11, 26, 28 alleging that Caltech
      conducted a “botched Title IX purported investigation”; “not only did Caltech
25
      wholly fail to comply with Title IX at every juncture as it related to their purported
26    investigation, they failed to comply with their own policies and procedures”;
27    “[Caltech’s investigation] was anything but a search for truth and everything about
      protecting itself…”; “Caltech used two clearly untrained and ill equipped
28    [investigators].”

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1     were required to pursue a writ of administrative mandamus, he could not do so until
2
      Caltech decided his appeal. See CCP § 1094.5 (limiting writ procedure to “the
3
      purpose of inquiring into the validity of any final administrative order or decision”).
4
5     Accordingly, Caltech is preventing John from pursuing the very relief it claims he
6     failed to seek.
7
            Moreover, if this Court determined that both John and Jane have stated
8
      otherwise valid Title IX claims but that only John’s claims should be dismissed for
9
10    failure to exhaust, this case may have potential collateral estoppel consequences for
11    John in a subsequent state proceeding because John will remain a party in this case
12
      as a defendant to Jane’s claims. In short, Caltech’s disparate treatment of John even
13
      in this litigation is designed to create maximum disadvantage for John.
14
            B.     John Has Adequately Pled A Title IX Claim
15
16          The Ninth Circuit has not articulated a standard for challenging university

17    disciplinary actions under Title IX. But there is substantial guidance from other
18    circuits that recognize several theories. See Doe v. Regents of the UC, 2016 WL
19
      11504216, at *4 (C.D. Cal. Dec. 1, 2016) (explicitly adopting Second Circuit test
20
      articulated by Doe v. Columbia, 831 F.3d 46 (2d Cir. 2016)) (rev’d on other
21
22    grounds). Courts have recognized that students subject to disciplinary proceedings
23    can state Title IX claims under multiple theories including: “erroneous outcome”
24
      and “selective enforcement.” See, e.g., Yusuf v. Vassar College, 35 F.3d 709, 715
25
      (2d Cir. 1994). A plaintiff may plead different theories, and the Court should not
26
27    dismiss a Title IX complaint if the factual allegations make a claim plausible under
28    any theory. Id. at 715. Here, John pleads both erroneous outcome and selective

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1     enforcement. Both theories require allegations from which the Court can plausibly
2
      infer that the University’s conduct was motivated by gender.
3
                   1.     John Has Pled Gender Bias
4
            As noted by the Second Circuit in Doe v. Columbia, courts are obligated “to
5
6     draw reasonable inferences in favor of the sufficiency of the complaint” and “Iqbal
7     does not require that the inference of discriminatory intent supported by the pleaded
8
      facts be the most plausible explanation of the defendant’s conduct. It is sufficient if
9
      the inference of discriminatory intent is plausible.” Columbia, 831 F.3d at 57
10
11    (emphasis in original).
12          John summarized above the facts that support an inference of gender bias. In
13    short, John pled numerous examples of faulty reasoning and dubious conclusions
14
      applied by Caltech, which John asserts Caltech has never applied to any similarly
15
16    situated female in John’s position – an adjudicated victim of sexual assault due to

17    incapacitation from alcohol. John pleads that female students who Caltech
18    determined drank too much and were taken advantage of sexually by male students:
19
      have never been punished; have never been blamed for initiating the sexual
20
      encounter even though drunk; have never received an honor code violation for
21
22    drunken behavior; and have never received sanctions requiring alcohol treatment.
23    Similarly, John pleads that male students in Jane’s position – adjudicated responsible
24
      for knowingly having sex with an incapacitated person – have never received
25
      sanctions as lenient as Jane. Instead, similarly situated men have been uniformly
26
27    suspended or expelled, while Jane was required only to take a class.
28


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1           John couples those allegations with specific examples of pressure Caltech
2
      faced to take sexual assault against women more seriously – both general pressure
3
      from the government’s stepped-up efforts to combat campus sexual assault, and
4
5     specific pressure from within the Caltech community based on criticism for the way
6     Caltech handled previous cases of sexual assault and harassment against women.4
7
      John’s complaint amply explains how Caltech, cognizant of the influence of the “Me
8
      Too” movement, was desperate to avoid deciding a case against a female who
9
10    claimed to be the survivor of a sexual assault, and even more unwilling to punish her
11    for committing assault. Courts in many other cases have held that the combination
12
      of such facts are enough to infer gender bias.
13
            For example, Caltech cites the 2016 opinion of Doe v. Lynn Univ., which held
14
15    that a student failed to plead gender bias in a complaint challenging a university’s

16    sexual misconduct determination. But Caltech failed to reference the same court’s
17    2017 decision finding the student’s amended complaint cured this deficiency, based
18
      on virtually identical facts that John alleges against Caltech. Doe v. Lynn Univ., Inc.,
19
20
      235 F. Supp. 3d 1336 (S.D. Fla. 2017). The Court pointed specifically to allegations

21    that “Defendant was criticized during the period preceding Plaintiff’s disciplinary
22    proceeding for failing to take seriously complaints by female students . . . [citing to]
23
24
      4
        While not pled in the Complaint, John has since discovered additional pressure
25
      facing Caltech – a change.org petition criticizing Caltech’s Title IX procedures for
26    failing to protect survivors of sexual assault (which began as a response to the May
27    21, 2018 student newspaper article that John did plead at ¶ 168) has garnered more
      than 560 signatures. (available at https://www.change.org/p/california-institute-of-
28    technology-protect-survivors-of-sexual-assault-at-caltech )

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1     a news media report that school security chose not to press charges against a young
2
      male perpetrator accused of having sexually harassed four female students.” Id. The
3
      court went on to note that these allegations coupled with additional assertions about
4
5     nationwide pressures facing universities, were sufficient to overcome a motion to
6     dismiss. Id. at 1342. The Court reasoned that “Plaintiff, having alleged that
7
      Defendant's representatives were cognizant of criticism levied at Defendant's
8
      handling of sexual assault complaints by female students against males and having
9
10    coupled those allegations with (albeit more general) assertions about similar
11    nationwide pressure, has done enough.” Id. The court found that such allegations are
12
      “sufficient to nudge Plaintiff's claims across the line from conceivable to plausible,
13
      which is all the law requires.” Id. at 1340.
14
15          The Sixth Circuit reached a similar conclusion in a lawsuit also challenging a

16    university’s sexual misconduct decision, again emphasizing that a complaint “need
17    only create the plausible inference of intentional gender discrimination; although
18
      alternative non-discriminatory explanations for the defendants’ behavior may exist.”
19
20
      Doe v. Miami Univ., 882 F.3d 579, 594 (6th Cir. 2018). The Court held that the

21    complaint plausibly alleged a causal link between the flawed outcome and gender
22    bias by describing a potential pattern of gender-based decision making together with
23
      allegations that the University was under pressure from the federal government and
24
      from students to combat sexual assault on campus. Id. The Court held that these
25
26    allegations, together with the fact that further relevant evidence was necessarily in
27    the University’s control, were “sufficient specific facts to support a reasonable
28


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1     inference of gender discrimination” and that plaintiff was entitled to discovery to
2
      prove his claims. Here, John alleges that Caltech has adjudicated similar cases where
3
      the genders of the parties were reversed (i.e., males accused of assault by
4
5     incapacitated female) and that Caltech has never reached the decision it did in this
6     case. Just as in Doe v. Miami, that pattern of decision making combined with the
7
      specific public pressure described above, is sufficient to establish gender bias.
8
            Numerous other cases throughout the country have concluded that allegations
9
10    comparable to John’s are sufficient to plead gender bias, particularly where – as here
11    – the evidence necessary to develop such facts is within the defendant’s exclusive
12
      possession. The following are representative cases in which courts have denied
13
      university motions to dismiss based on similar facts:
14
          Doe v. Marymount Univ., 2018 WL 1352158, *6-10 (E.D. Va. Mar. 14, 2018):
15
            The Court ruled that plaintiff’s allegations of gender bias, when read as a
16
            whole, were sufficient to “nudge[] his Title IX claim over the Rule 12(b)(6)
17
            bar.” The Court reached this conclusion after reviewing a constellation of
18
            allegations regarding skewed disciplinary procedures, procedural errors in the
19
20
            investigation, failure to obtain or consider exculpatory evidence, crediting

21          female student’s purportedly implausible allegations, bias of investigators and
22          decisionmakers, allegations concerning the impact of the “Dear Colleague”
23          letter and other political forces, and the fact that respondents are almost
24          invariably male.
25
          Rolph v. Hobart and William Smith Colleges, 271 F. Supp. 3d 386, 401-402
26
            (W.D.N.Y. 2017): The Court denied a motion to dismiss student’s Title IX
27
            claim and found complaint pled gender bias by alleging “that, before his
28


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1           disciplinary hearing, [the college] was criticized in the media for failing to
2           take seriously female students' complaints of sexual assault by male students”
3           and that the college “faced pressure from the federal government to take a
4           hard stance on sexual assault” in the form of “OCR's ‘Dear Colleague Letter’
5           from April 2011.”
6
          Doe v. Washington & Lee Univ., No. 6:14-cv-00052, 2015 WL 4647996, *9-
7
            10 (W.D. Va. Aug. 5, 2015): The Court denied a motion to dismiss Title IX
8
            claims filed by a male student challenging university sexual misconduct
9
            decision; plaintiff sufficiently alleged a “causal link between his expulsion
10
            and gender bias” based on biased statements by university official as well as
11
12          allegations that the university “was under pressure from the government to

13          convict male students of sexual assault.”
14        Doe v. Trustees of the Univ. of Pennsylvania, 270 F. Supp. 3d 799, 823-824
15          (E.D. Pa. 2017): The Court denied a motion to dismiss a Title IX erroneous
16          outcome claim where plaintiff alleged inter alia “that Defendant’s
17
            implementation of discipline for sexual assault has been influenced by
18
            criticism it has received in the past for not taking the complaints of female
19
            students sufficiently seriously.” The Court also held that plaintiff could
20
            conduct discovery “to ascertain whether, in fact, there are facts to support his
21
            allegations” regarding a pattern of gender-based discrimination.
22
23                 2.    John’s Cross-Claim Supports an Erroneous Outcome Claim
24
            Caltech acknowledges that the elements of an erroneous outcome claim are:
25
      (1) facts sufficient to cast some articulable doubt on the accuracy of the outcome of
26
27    the disciplinary proceeding; and (2) causal connection between the flawed outcome
28    and gender bias. (Caltech Mem. at 6.) John addresses the gender bias element of this

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1     claim at length above. Caltech does not attempt to argue that John’s complaint fails
2
      to satisfy the first element, other than stating in a footnote that it “disputes that John
3
      has alleged facts sufficient to cast articulable doubt on the outcome of the
4
5     proceeding.” (Id. at 7, FN 2.) But it is beyond dispute that John has alleged facts
6     calling into doubt the outcome of his disciplinary proceedings. Among many other
7
      defects, John alleges that Caltech’s investigators originally decided this case in his
8
      favor, but were forced by Caltech to change their determination to find John
9
10    responsible for sexual misconduct due to threats from Jane and the desire to avoid
11    public criticism. CC ¶¶ 9, 75, 78, 82, 166-170. Because John has alleged that the
12
      outcome of his disciplinary matter was not based on the facts, but on the University’s
13
      desire to avoid negative publicity, he has satisfied this element.
14
                   3.     John’s Cross-Claim Supports a Selective Enforcement
15
                          Claim
16
            A selective enforcement claim may be premised on allegations that,
17
      “regardless of the student’s guilt or innocence, the severity of the penalty and/or the
18
19    decision to initiate the proceeding was affected by the student’s gender.” Yusuf, 35
20    F.3d at 715. Federal courts have held that a male plaintiff can state a “selective
21
      enforcement” claim by alleging that “the [educational institution’s] actions against
22
      [the male plaintiff] were motivated by his gender and that a similarly situated woman
23
24    would not have been subjected to the same disciplinary proceedings.” Tafuto v. N.J.
25    Inst. of Technology, 2011 WL 3163240, at *2 (D.N.J. July 25, 2011); see also Ritter
26
      v. Okla. City, 2016 WL 3982554, at *2-3 (W.D. Okla. July 22, 2016) (allowing
27
      selective enforcement claim to proceed based on allegations comparable to John’s).
28


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1           Again, John addressed above why this Court may infer that Caltech’s actions
2
      in this case were motivated by gender. And John specifically alleges that men at
3
      Caltech have been accused of and found responsible for the exact offense Jane was
4
5     here – having sex with a student who was incapacitated from alcohol. John has
6     further alleged that in all those cases, the men found responsible “uniformly received
7
      sanctions including temporary or permanent separation from the University.” CC ¶
8
      139. In contrast, Jane was required to take a class. Id. ¶ 131. John also included
9
10    numerous allegations that women in John’s position (found to be the victim of non-
11    consensual sex by reason of incapacitation from alcohol) have never been punished
12
      for their alcohol consumption, nor have they been blamed or told that they “share
13
      responsibility” for their assault, as John was, based on a finding that the women
14
15    initiated the sexual contact while incapacitated. Id ¶¶ 109, 120, 130, 140-145. In fact,

16    John claims that Caltech’s Title IX staff are trained that there is nothing an
17    incapacitated student could say or do to justify another student having sex with them.
18
      Id. ¶¶ 52-53. Finally, John points to the inequity in the sanctions issued to both John
19
20
      and Jane in the same case despite Jane being found responsible for a drastically more

21    severe offense than John (nonconsensual sex vs. nonconsensual kiss). Id. ¶¶ 126-
22    131. These allegations are sufficient to establish that a similarly situated woman
23
      would not have been subject to the same treatment and that Caltech’s actions were
24
      motivated by gender.
25
26          Finally, Caltech cannot fault John for making many of his allegations “on
27    information and belief” or defeat his claims with an argument that there are
28


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1     “alternative explanations” for Caltech’s disparate treatment of John and Jane in this
2
      case. (Caltech Mem. at 16.) Caltech erroneously argues that if it can articulate an
3
      alternate justification for its actions that are not based on gender, this Court can
4
5     ignore John’s claims to the contrary. But that is not the law. A federal court in
6     Oregon recently reaffirmed this point in a similar Title IX case. Quoting Doe v.
7
      Columbia, the Oregon court noted that the plausibility pleading standard “‘does not
8
      require that the inference of discriminatory intent supported by the pleaded facts be
9
10    the most plausible explanation of the defendant’s conduct. It is sufficient if the
11    inference of discriminatory intent is plausible.’” Doe v. University of Oregon, 2018
12
      WL 1474531, at *15 (D. Or. Mar. 26, 2018). The court found it “significant that,
13
      given the University’s legitimate interest in maintaining the confidentiality of sexual
14
15    misconduct investigations, the evidence that could show which (if either) inference

16    is correct is for all practical purposes unavailable to plaintiff without the tools of
17    discovery.” Id. Applying these principles, the Court denied the University’s motion
18
      to dismiss. This Court should do the same.
19
            C.     John Adequately Pleads Breach of Contract5
20
            In California, the plaintiff in a breach-of-contract action must plead: (1) the
21
22    existence of the contract; (2) performance by the plaintiff or excuse for
23    nonperformance; (3) breach by the defendant; and (4) damages. See Sutcliffe v. Wells
24
      Fargo Bank, N.A., 283 F.R.D. 533, 549 (N.D. Cal. 2012). As Caltech acknowledges,
25
26
      5
27     Though John separately pleads Declaratory Judgment as Count VI of his Cross-
      Claims, this claim seeks a specific remedy for and is derivative of John’s Breach of
28    Contract claim. Accordingly, John will not separately address Count VI in this brief.

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1     California courts have stated that the relationship between students and universities,
2
      including the terms of that relationship listed in student handbooks, are contractual
3
      in nature. Karimi, 2019 WL 687545 at *11; Zumbrun v. Univ. of S. Cal., 25 Cal.
4
5     App. 3d 1, 10 (Ct. App. 1972).
6           In general, a contract must be sufficiently definite “for the court to ascertain
7
      the parties’ obligations and to determine whether those obligations have been
8
      performed or breached.” Sateriale v. R.J. Reynolds Tobacco Co., 697 F.3d 777, 789
9
10    (9th Cir. 2012) (quoting Bustamante v. Intuit, Inc., 141 Cal. App. 4th 199, 209
11    (2006)). However, the law “does not favor, but leans against, the destruction of
12
      contracts because of uncertainty.” Sateriale, 697 F.3d at 790 (quoting Cal. Lettuce
13
      Growers v. Union Sugar Co., 45 Cal. 2d 474, 481 (1955)). The “degree of certainty
14
15    required may be affected by the dispute which arises and by the remedy sought.”

16    Sateriale, 697 F.3d at 789 (quoting Restatement (Second) of Contracts § 33 cmt. b
17    (1981)). “Courts decide the disputes before them, not other hypothetical disputes
18
      which might have arisen.” Id. Further, that an alleged contract affords a party some
19
20
      discretion in performance does not mean that the alleged contract is unenforceable.

21    Id. (citing Restatement (Second) of Contracts § 34 cmt. a (1981)). A contract will be
22    enforced if it is possible to reach a fair and just result “even if, in the process, the
23
      court is required to fill in some gaps.” Ersa Grae Corp. v. Fluor Corp., 1 Cal. App.
24
      4th 613, 623 (1991).
25
26          Caltech’s motion essentially dismisses all of John’s allegations of breach on
27    the basis that he has not identified “specific” promises that the school failed to keep.
28


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1     Caltech cites out-of-state case law for the proposition that promises to be “fair and
2
      impartial” and to treat parties “consistently” are too general to amount to contractual
3
      obligations. However, Caltech fails to acknowledge that there are many out-of-state
4
5     cases to the contrary. See Montague v. Yale Univ., No. 16-00885 (D. Conn. Mar. 29,
6     2019), ECF No. 177 at 48-49 (denying summary judgment on claim for breached
7
      promise of “fairness” based on similar allegations that Yale manipulated process
8
      against male accused)6; Doe v. Rider Univ., 2018 WL 466225, at *13 (D.N.J. Jan.
9
10    17, 2018) (denying motion to dismiss breach-of-contract claim that university failed
11    to use “a trained investigator or investigators to promptly, fairly and impartially
12
      investigate the complaint”); Doe v. Trs. of the Univ. of Pa., 270 F. Supp. 3d 799, 818
13
      (E.D. Pa. 2017) (refusing to dismiss breach-of-contract claim that university’s
14
15    investigation was not “thorough”); Doe v. Case Western Reserve Univ., 2017 WL

16    3840418, at *13 (N.D. Ohio Sept. 1, 2017) (denying motion for summary judgment
17    on breach-of-contract claim that university “would ensure the rights of the
18
      complainant and the respondent are maintained by supporting a fair process”); Doe
19
20
      v. Univ. of Notre Dame, 2017 WL 1836939, at *9-11 (N.D. Ind. May 8, 2017)

21    (granting injunctive relief on contract claim in part because university failed to honor
22    policy’s requirement for “prompt, fair and impartial investigation and resolution”),
23
      vacated pursuant to settlement; Doe v. Amherst Coll., 238 F. Supp. 3d 195, 216-17
24
      (D. Mass. 2017) (rejecting motion to dismiss breach-of-contract claim that college
25
26    failed to conduct thorough, impartial, and fair investigation and fact-finding
27    6
       This decision is so recent that it does not appear on Westlaw. A copy of the court’s
28    decision is attached hereto as Appendix A.

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1     process); Ritter v. Okla., 2016 WL 2659620, at *3 (W.D. Okla. May 6, 2016)
2
      (granting injunctive relief in part based on alleged contractual breach of policy
3
      requiring an “equitable resolution” in proceedings involving sexual misconduct);
4
5     Doe v. Brown Univ., 166 F. Supp. 3d 177, 195 (D.R.I. 2016) (permitting breach-of-
6     contract claim to proceed that alleged violation of policy permitting respondent to
7
      offer “relevant” evidence in sexual misconduct proceeding even though that term is
8
      “vague and undefined”); King v. DePauw Univ., 2014 WL 4197507, at *13 (S.D.
9
10    Ind. Aug. 22, 2014) (granting injunction after finding plaintiff could prevail on
11    breach-of-contract claim that university failed to respond to complaint “properly and
12
      sensitively,” and failed to investigate “appropriately” and “competently”).
13
            More importantly, in analyzing John’s breach-of-contract claims, Caltech
14
15    does not apply the language of its policies to the facts that John alleges. Rather,

16    Caltech analyzes its Policy terms in an abstract, hypothetical manner. As noted
17    above, this approach is discouraged by the Ninth Circuit’s interpretation of
18
      California contract law. See Sateriale, 697 F.3d at 789 (“degree of certainty required
19
20
      may be affected by the dispute which arises. . . . Courts decide the disputes before

21    them, not other hypothetical disputes which might have arisen.”). A few examples
22    of the promises Caltech breached in this case illustrate that contractual certainty in
23
      this instance is not a problem:7
24
25
26
      7
27     All of the specific promises contained in Caltech’s Sexual Misconduct Policy that
      John alleges were breached are set forth in Paragraph No. 204 of John’s cross-claim,
28    which are incorporated herein by reference and will not be repeated here.

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1           John alleges Caltech breached the Policy’s promise to conduct the
2
      disciplinary proceeding in a “fair and impartial” manner. CC ¶ 204. Even if in the
3
      abstract it might be difficult to precisely define the contours of fairness, there can be
4
5     no dispute that “fairness” cannot include Caltech’s intentional manipulation of the
6     investigators’ findings to dictate a result Caltech believed would be more politically
7
      correct even if inconsistent with the facts.
8
            John alleges Caltech breached the Policy’s promise to provide “consistent
9
10    treatment of the parties.” Id. John pleads numerous instances of indisputably
11    inconsistent treatment he received during the process. For example, John alleged that
12
      Caltech imposed campus restrictions on John that substantially limited his access to
13
      campus facilities in response to Jane’s complaint, and that Caltech did not place
14
15    similar restrictions on Jane in response to John’s complaint. Id. ¶¶ 55-58, 64-65.

16    Similarly, John alleged that he received a sanction requiring alcohol treatment and
17    that Jane did not, even though both claimed to be intoxicated during the incident. In
18
      addition, the complaint describes Ms. Hunt’s warning to John that he should not
19
20
      retain counsel to assist in the investigation and that she would be forced to advise

21    Jane if he did, and her subsequent failure to inform John that Jane retained counsel
22    during the investigation. Id. ¶¶ 61-62.
23
            John alleges that Caltech breached the Policy’s promise that investigators
24
      will be trained “regularly in issues related to sexual misconduct and how to conduct
25
26    an investigation process that …promotes accountability.” Id. ¶ 204. Even if this
27    promise does not fully define the training investigators will receive, Caltech cannot
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1     dispute that training must minimally include Caltech’s policy on consent. John
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      pleads that Caltech follows a zero-tolerance policy if students engage in sex with an
3
      incapacitated party, but that Caltech’s investigators failed to apply that policy to
4
5     John’s case because of inadequate training. Id. ¶¶ 42, 52, 53, 100, 204.
6           As set forth above, there is little ambiguity that John alleges a course of
7
      conduct by Caltech that fails to live up to any possible interpretation of its
8
      obligations under the Policy. As a result, Caltech’s position that the Policy lacks
9
10    sufficient definiteness to be enforced lacks merit and should be rejected.8
11          D.     John Adequately Pleads IIED & Negligence
12          The elements of intentional infliction of emotional distress are “(1) extreme
13    and outrageous conduct by the defendant with the intention of causing, or reckless
14
      disregard of the probability of causing, emotional distress; (2) the plaintiff's
15
16    suffering severe or extreme emotional distress; and (3) actual and proximate

17    causation of the emotional distress by the defendant's outrageous conduct. Hughes
18    v. Pair, 46 Cal. 4th 1035, 1050 (2009). Similarly, a general claim for negligence is
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      grounded in the principle that “[e]veryone is responsible, not only for the result of
20
      his or her willful acts, but also for an injury occasioned to another by his or her want
21
22
      8
        In the alternative, to the extent the Court disagrees that the Policy is an enforceable
23    contract, John has adequately pled Promissory Estoppel by alleging John’s decision
24    to matriculate to Caltech was in reliance on the disciplinary procedures and
      protections promised by Caltech in the Policy. See CC ¶¶ 208-214; Jolley v. Chase
25
      Home Fin., LLC, 213 Cal. App. 4th 872, 897 (2013) (elements of promissory
26    estoppel are “(1) a promise clear and unambiguous in its terms; (2) reliance by the
27    party to whom the promise is made; (3) [the] reliance must be both reasonable and
      foreseeable; and (4) the party asserting the estoppel must be injured by the party's
28    reliance.”).

                                                 24
                             JOHN DOE'S RESPONSE IN OPPOSITION
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1     of ordinary care or skill in the management of his or her property or person.” Cal.
2
      Civ. Code § 1714
3
             John meets that standard here by alleging the following conduct by Caltech:
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5     (1) Caltech, fearing criticism, directed its investigators to reverse their decision that
6     John was not responsible for sexual misconduct; (2) Dean Gilmartin threatened John
7
      with suspension to attempt to force John to leave Caltech for reasons having nothing
8
      to do with the facts of the case and everything to do with avoiding a politically
9
10    unacceptable result; and (3) John suffered an emotional breakdown upon being told
11    he would be suspended for an offense Caltech knew he didn’t commit. This conduct
12
      was intentional (and at least negligent), obviously likely to harm the average
13
      reasonable person, and did harm John.
14
      III.   CONCLUSION
15
16           For all the foregoing reasons, John respectfully requests that this Court deny

17    Caltech’s Motion to Dismiss his Cross-claims in its entirety.
18
19
20
                                 [Signatures on following page]
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1      DATED: April 12, 2019           ZWEIBACK, FISET & COLEMAN
2                                      LLP
3                                      /s/ Michael Zweiback
                                       Michael Zweiback
4                                      Attorneys for Defendant/Cross-
                                       Claimant/Counter-Claimant
5                                      JOHN DOE
6
7      DATED: April 12, 2019           CONRAD O’BRIEN PC
8                                      /s/ Patricia M. Hill
9                                      Patricia M. Hamill
                                       Andrew S. Gallinaro
10                                     Attorneys for Defendant/Cross-
11                                     Claimant/Counter-Claimant
                                       JOHN DOE
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 1
                                               PROOF OF SERVICE
 2
             I, Erin Coleman, declare:
 3
             I am employed in the County of Los Angeles, State of California. I am over the age of 18
 4    and not a party to the within action. My business address is ZWEIBACK, FISET & COLEMAN
      LLP, 523 W. 6th Street, Suite 450, Los Angeles, CA 90014.
 5
           On April 12, 2019, I served the document(s) described as JOHN DOE’S RESPONSE
 6    IN OPPOSITION TO CALIFORNIA INSTITUTE OF TECHNOLOGY’S MOTION TO
      DISMISS on the interested parties via the Court’s CM/ECF:
 7
 8     Anahita Sedaghatfar                                            Attorneys for Plaintiff
       THE COCHRAN FIRM-CALIFORNIA                                    JANE DOE
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       Los Angeles, California 90010
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11     Facsimile: (323) 282-8280
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12     Moez M. Kaba                                                   Attorneys for Defendant
       HUESTON HENNIGAN LLP                                           CALIFORNIA INSTITUTE OF
13                                                                    TECHNOLOGY, KEVIN
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                                                                      GILMARTIN
14     Los Angeles, California 90014
       Telephone: (213) 788-4543
15     Email: mkaba@hueston.com
16
17            I declare under penalty of perjury under the laws of the United States that the foregoing is
      true and correct. Executed on the 12th day of April 2019, at Los Angeles, California.
18
19
20                                                                 /s/ Erin Coleman
                                                                   Erin Coleman
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24
25
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                                                           1

                                                 PROOF OF SERVICE
